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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON                    Civil Action No. 3:16-md-2738-
  TALCUM POWDER PRODUCTS                      MAS-RLS
  MARKETING, SALES
  PRACTICES, AND PRODUCTS                     MDL No. 2738
  LIABILITY LITIGATION


  THIS DOCUMENT RELATES TO ALL CASES


  MOTION AND NOTICE OF MOTION OF THE PLAINTIFFS’ STEERING
  COMMITTEE TO EXCLUDE THE OPINIONS OF DR. JOHN KORNAK


        PLEASE TAKE NOTICE, that pursuant to Fed. R. Evid. 104(a), 403, 702,

  and 703, the Plaintiffs’ Steering Committee (“PSC”) hereby moves to exclude the

  opinions and testimony of Dr. John Kornak.

        For the reasons set forth more fully in the following accompanying materials,

  the Court should grant the PSC’s motion:

        • The Plaintiffs’ Steering Committee’s Brief Regarding the Rule 702
          Standard;

        • The Plaintiffs’ Steering Committee’s Memorandum of Law in
          Support of Its Motion to Exclude the Opinions of Dr. John Kornak;
          and

        • Certification of Counsel with attached Exhibits.
        A proposed form of order is attached.




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  Dated:     July 23, 2024         Respectfully submitted,

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